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                                      United States Bankruptcy Court
                                          District of Maryland
In re:                                                                                  Case No. 20-15774-TJC
Michael Earl Quinn                                                                      Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0416-0           User: akaniowsk              Page 1 of 2                   Date Rcvd: Jun 04, 2020
                               Form ID: 309A                Total Noticed: 30


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 06, 2020.
db             +Michael Earl Quinn,    9362 Drumman Dr,    Hagerstown, MD 21740-6873
31572635        AT&T,   PO Box 64375,    Saint Paul, MN 55164
31572640      ++CONTINENTAL FINANCE COMPANY LLC,     PO BOX 8099,    NEWARK DE 19714-8099
               (address filed with court: Continental Finance,       P.O. Box 8099,   Newark, DE 19714)
31572636       +Child Support Enforcement,    311 W Saratoga Street,     Baltimore, MD 21201-3500
31572637       +Christopher Kroll,    43187 Katama St,    Chantilly, VA 20152-4417
31572639       +ConServe,    200 CrossKeys Office Park,    Fairport, NY 14450-3510
31572641       +Continental Finance Company,     4550 New Linden HIll Road,    Wilmington, DE 19808-2952
31572643       +Embrace Home Loans,    P.O. Box 19409,    Charlotte, NC 28219-9409
31572644       +First Data,    SunTrust Merchant Services,    1925 East Pratt Street,     Baltimore, MD 21231-2139
31572645       +Glenn Moser,    1211 South Eads,    Arlington, VA 22202-2898
31572648       +IRS - Centralized Installment,     P.O. Box 7346,    Philadelphia, PA 19101-7346
31572650       +Loancare LLC,    3637 Sentara Way, Suite 303,     Virginia Beach, VA 23452-4262
31572651       +National Building and Leasing Inc,     75 E Main St,    Westminster, MD 21157-5026
31572652      #+Nelber Cruz,    7835 Marioak Dr,    Elkridge, MD 21075-6450
31572653       +North Star Capital Acquisition,     170 North Pointe Parkway,    Buffalo, NY 14228-1991
31572654       +Northstar Location Service,    4285 Genesee Street,     Buffalo, NY 14225-1943
31572656      #+RoundPoint Mortgage,    5032 Parkway Plaza Blvd.,     Charlotte, NC 28217-1918
31572657      ++SNAP ON CREDIT LLC,    950 TECHNOLOGY WAY,    SUITE 301,    LIBERTYVILLE IL 60048-5339
               (address filed with court: Snap-on Credit,      950 Technology Way, Suite 301,
                 Libertyville, IL 60048)
31572897       +Tax. Auth. of Wash. County, MD,     Treasurers Office,    35 West Washington Street, Room 102,
                 Hagerstown, MD 21740-4844
31572659       +Victor Cretella,    168 W Main St,    New Market, MD 21774-7538

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: glessnerlaw@comcast.net Jun 04 2020 20:31:11        Stephen A. Glessner,
                 Law Offices of Stephen A. Glessner,     226 East Patrick Street,    Frederick, MD 21701
tr             +EDI: QMCOHEN.COM Jun 05 2020 00:18:00       Merrill Cohen,    Cohen, Baldinger & Greenfeld, LLC,
                 2600 Tower Oaks Blvd.,    Suite 103,    Rockville, MD 20852-4281
31572638        E-mail/Text: Bankruptcymail@marylandtaxes.gov Jun 04 2020 20:32:04        Comptroller of Maryland,
                 Revenue Administration Division,     110 Carroll Street,    Annapolis, MD 21411-0001
31572896        E-mail/Text: Bankruptcymail@marylandtaxes.gov Jun 04 2020 20:32:04
                 Comptroller of the Treasury,    Compliance Division, Room 409,     301 W. Preston Street,
                 Baltimore, MD 21201
31572642       +E-mail/PDF: creditonebknotifications@resurgent.com Jun 04 2020 20:40:29        Credit One Bank,
                 P.O. Box 98873,   Las Vegas, NV 89193-8873
31572646       +EDI: IIC9.COM Jun 05 2020 00:18:00       IC Systems,   P.O. Box 64378,
                 Saint Paul, MN 55164-0378
31572647        EDI: IRS.COM Jun 05 2020 00:18:00       Internal Revenue Service,
                 Automated Collection System Support,     P.O. Box 57,    Bensalem, PA 19020
31572655        E-mail/Text: info@phoenixfinancialsvcs.com Jun 04 2020 20:31:21        Phoenix Financial Services,
                 8902 Otis Avenue, Suite 103A,    Indianapolis, IN 46216
31572658       +EDI: RMSC.COM Jun 05 2020 00:18:00       SYNCB/Lowes,   4125 Windward Plaza,
                 Alpharetta, GA 30005-8738
31572898       +E-mail/Text: UIBankruptcyNotices.DLLR@maryland.gov Jun 04 2020 20:33:22
                 State of Maryland DLLR,    Division of Unemployment Insurance,     1100 N. Eutaw Street, Room 401,
                 Baltimore, MD 21201-2225
                                                                                               TOTAL: 10

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
31572649        Kennie Jenkins
                                                                                               TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
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             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 06, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 4, 2020 at the address(es) listed below:
              Merrill Cohen    trustee@cohenbaldinger.com, mcohen@ecf.axosfs.com
              Stephen A. Glessner   glessnerlaw@comcast.net
                                                                                            TOTAL: 2
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Information to identify the case:
Debtor 1              Michael Earl Quinn                                                 Social Security number or ITIN   xxx−xx−9585
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Maryland
                                                                                         Date case filed for chapter 7 6/3/20
Case number:          20−15774 TJC          Chapter: 7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                         12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
case. Visit http://www.mdb.uscourts.gov and click on Filing Without An Attorney for additional resources and
information.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Michael Earl Quinn

2.      All other names used in the
        last 8 years

3.     Address                               9362 Drumman Dr
                                             Hagerstown, MD 21740

4.     Debtor's attorney                     Stephen A. Glessner                                      Contact phone (301) 663−8200
       Name and address                      Law Offices of Stephen A. Glessner                       Email: glessnerlaw@comcast.net
                                             226 East Patrick Street
                                             Frederick, MD 21701

5.     Bankruptcy trustee                    Merrill Cohen                                            Contact phone (301) 881−8300
       Name and address                      Cohen, Baldinger & Greenfeld, LLC                        Email:
                                             2600 Tower Oaks Blvd.
                                             Suite 103
                                             Rockville, MD 20852
                                                                                                       For more information, see page 2 >
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Debtor Michael Earl Quinn                                                                                                     Case number 20−15774
6. Bankruptcy clerk's office                     Greenbelt Division                                                Hours open:
                                                 6500 Cherrywood Lane, Ste. 300                                    8:45 − 4:00 PM
    Documents in this case may be                Greenbelt, MD 20770
    filed at this address. You may                                                                                 Contact phone (301) 344−8018
    inspect all records filed in this case Clerk of the Bankruptcy Court:
    at this office or online at            Mark A. Neal                                                            Date: 6/4/20
    www.pacer.gov.

7. Meeting of creditors                                                                                            Location:
                                         July 27, 2020 at 09:30 AM                                                 See the included UST Notice for
    Debtors must attend the meeting to
    be questioned under oath. In a joint The meeting may be continued or adjourned to a later date.                meeting participation details.
    case, both spouses must attend.      If so, the date will be on the court docket.
    Creditors may attend, but are not
    required to do so.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 9/25/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                 Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as exempt.       conclusion of the meeting of creditors
                                                 If you believe that the law does not authorize an exemption
                                                 claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                 that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.


13. Debtor electronic bankruptcy                 The U.S. Bankruptcy Court for the District of Maryland offers all parties the ability to receive court notices
    noticing                                     and orders via email, instead of U.S. mail. To participate, debtors must complete and file a DeBN request
                                                 form with the Court −− additional information is available under Programs & Services at
                                                 http://www.mdb.uscourts.gov. Other parties (non−debtors) can register at ebn.uscourts.gov.


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